
*1213OPINION.
Trammell:
The petitioner contends that the respondent has determined a deficiency for 1918 and that we accordingly have jurisdiction for that year. On the authority of our decisions in Fort Pitt Spring &amp; Manufacturing Co., 5 B. T. A. 1106, and Pioneer Box Co., 8 B. T. A. 488, which are applicable and controlling here, the petitioner’s contention must be denied. The facts in Continental Accounting &amp; Audit Co., 2 B. T. A. 761, and in John Moir et al., 3 B. T. A. 21, are different from those in the instant case and our decision in those cases is not applicable here.
An order will be entered dismissing the proceeding in so far as the year 1918 is involved and restoring the proceeding to the calendar for hearing in due course on the merits for 1919.
Reviewed by the Board.
